            If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                 revision until final publication in the Michigan Appeals Reports.




                          STATE OF MICHIGAN

                            COURT OF APPEALS


DICASTAL NORTH AMERICA, INC.,                                        UNPUBLISHED
                                                                     August 22, 2024
               Petitioner-Appellant,

v                                                                    No. 365333
                                                                     Tax Tribunal
CITY OF GREENVILLE,                                                  LC No. 20-003825-TT

               Respondent-Appellee.


Before: REDFORD, P.J., GADOLA, C.J., and RIORDAN, J.

PER CURIAM.

        In this action brought by petitioner, Dicastal North America, Inc., disputing respondent,
City of Greenville’s, property tax valuations for the 2020 tax year, petitioner appeals the Michigan
Tax Tribunal’s judgment that affirmed respondent’s tax assessment on one parcel and dismissed
petitioner’s appeal of the tax assessments on the six remaining parcels, all of which were subject
to Industrial Facility Tax (IFT) exemptions. We affirm.

                                I. FACTS AND PROCEEDINGS

        Petitioner manufactures wheels used in the automotive industry. In 2014, petitioner bought
92.2 acres of property in Greenville for a manufacturing facility. The property had four IFT
certificates for improvements made to the property by a previous owner, and petitioner applied for
and received two additional IFT certificates for new construction, improvements, and additions
that it made to the property in 2015. As of tax year 2020, petitioner’s property was divided into
seven parcels. Parcel 59-052-693-035-20 consisted of real property that was taxed according to
respondent’s ad valorem property tax assessment. The remaining six parcels, IFT parcels 59-052-
910-117-00, 59-052-910-120-00, 59-052-910-123-00, 59-052-910-124-00, 59-052-910-142-00,
and 59-052-910-143-00, were on a separate IFT tax roll.

        The tribunal conducted a four-day hearing on the petition, during which petitioner
presented evidence from an appraiser in an effort to show the true cash value of the property as a
whole. After the close of proofs, the tribunal allowed the parties to submit briefs to address how
the tribunal should determine the true cash values of the seven individual parcels. Thereafter, the
tribunal issued a written opinion and order in which it affirmed respondent’s tax assessment for


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parcel 59-052-693-035-20 and dismissed petitioner’s challenge to the tax assessments for the six
remaining IFT parcels. Petitioner now appeals.

                                          II. ANALYSIS

       Petitioner argues that the Tax Tribunal erred by dismissing its petition challenging the tax
assessments for IFT tax parcels 59-052-910-117-00, 59-052-910-120-00, 59-052-910-123-00, 59-
052-910-124-00, 59-052-910-142-00, and 59-052-910-143-00. We disagree.

                                  A. STANDARD OF REVIEW

        Our review of a Tax Tribunal’s findings of fact “is limited to deciding if the tribunal’s
factual findings are supported by competent, material, and substantial evidence on the record.”
Inter-Coop Council v Dep’t of Treasury, 257 Mich App 219, 221; 668 NW2d 181 (2003). Further,
when addressing claims of legal error, “[i]n the absence of an allegation of fraud, this Court’s
review of a Tax Tribunal decision is limited to determining whether the tribunal committed an
error of law or adopted a wrong legal principle.” Mich Milk Producers Ass’n v Dep’t of Treasury,
242 Mich App 486, 490; 618 NW2d 917 (2000). See also Const 1963, art 6, § 28. Moreover, “a
Tax Tribunal decision that is not supported by competent, material, and substantial evidence on
the whole record is an ‘error of law’ within the meaning of Const 1963, art 6, § 28.” Great Lakes
Div of Nat’l Steel Corp v Ecorse, 227 Mich App 379, 388; 576 NW2d 667 (1998).

         B. THE TAX TRIBUNAL’S DUTY TO DETERMINE TRUE CASH VALUE

         Petitioner argues that the tribunal erred as a matter of law by dismissing its appeal of the
2020 tax assessments for the six IFT parcels. The tribunal’s specific ruling was that, viewing the
evidence in a light most favorable to petitioner, petitioner did not present sufficient proof to show
the true cash value of the IFT parcels or for the tribunal to make an independent determination of
their true cash value.

       Under MCL 205.737(3), petitioner had “the burden of proof in establishing the true cash
value of the property.” True cash value is

       the usual selling price at the place where the property to which the term is applied
       is at the time of assessment, being the price that could be obtained for the property
       at private sale, and not at auction sale except as otherwise provided in this section,
       or at forced sale. . . . [MCL 211.27(1).]

Under Michigan law, true cash value is synonymous with the property’s fair market value. Huron
Ridge, LP v Ypsilanti Twp, 275 Mich App 23, 28; 737 NW2d 187 (2007).

        Once the petitioner meets the burden of establishing a property’s true cash value, the
respondent “has the burden of proof in establishing the ratio of the average level of assessments in
relation to true cash values in the assessment district and the equalization factor that was uniformly
applied in the assessment district for the year in question.” MCL 205.737(3). As this Court
interpreted MCL 205.737(3) in President Inn Props, LLC v Grand Rapids, 291 Mich App 625,
631; 806 NW2d 342 (2011), “The burden of proof encompasses two concepts: (1) the burden of
persuasion, which does not shift during the course of the hearing; and (2) the burden of going


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forward with the evidence, which may shift to the opposing party.” (Quotation marks and citation
omitted.)

        Because the Tax Tribunal reviews tax assessments de novo, the tribunal must make an
independent determination of the true cash value of the property based on the property’s highest
and best use. Menard, Inc v Escanaba, 315 Mich App 512, 522; 891 NW2d 1 (2016). In doing
so, the tribunal must determine the most accurate valuation under the circumstances. See id.However, the Tax Tribunal’s duty to make its own independent determination of true cash value
arises only when the petitioner has met its burden of going forward with evidence. Great Lakes
Div of Nat’l Steel Corp, 227 Mich App at 408-410. For that reason, if a petitioner fails to come
forward with competent evidence to challenge the assessed values of the property, then the
tribunal’s duty to make an independent determination of true cash value is not triggered. See id.Moreover, this Court will not assess the credibility of witnesses, and the determination of the
weight to be given the evidence is within the Tax Tribunal’s discretion. President Inn Props, LLC,
219 Mich App at 633.

        As the tribunal stated in its opinion and order, the six IFT parcels were not on the
ad valorem tax roll but were instead on a special abatement tax roll because Dicastal and the prior
owner applied for IFTs to pay tax on each parcel at 50% of the dollar amount spent to improve
each parcel. IFT certificates are issued under the Plant Rehabilitation and Industrial Development
District Act, 1974 PA 198. MCL 207.554(1) states that a local government unit may establish
plant-rehabilitation districts and industrial-development districts that consist of parcels or tracts of
land or portions of parcels or tracts of land. A facility may apply for an IFT tax abatement as set
forth in MCL 207.555(1), and, pursuant to MCL 207.556(1), the local government unit must decide
whether to approve or disapprove the application, and, if approved, the application must be
forwarded to the Tax Commission. Pursuant to MCL 207.557(1), if the State Tax Commission
decides that the property owner intends to restore or replace obsolete industrial property or
construct new industrial property, then it must issue an IFT exemption certificate. A facility for
which an IFT certificate is issued applies to industrial facilities but not land, and the IFT property
covered by the certificate “is exempt from ad valorem real and personal property taxes and the
lessee, occupant, user, or person in possession of that facility for the same period is exempt from
ad valorem taxes . . . .” MCL 207.558.

        As the tribunal recognized, MCL 207.560(1) states that, each year, the tax assessor for the
government unit must determine the true cash value and the taxable value of each facility covered
by an IFT. Pursuant to MCL 207.560(2), the local tax assessor must report his or her determination
of these property values to the governmental unit. As the tribunal also explained, to be approved
for an IFT certificate, the property is not assessed on the basis of its true cash value or market
value. Instead, the value for purposes of an IFT abatement is based on the cost of improvements
as reported and requested by the landowner on its IFT application. In other words, for an IFT
parcel, the taxable value of each property is 50% of the cost of improvements, which then receives
a 50% millage reduction for the period of each IFT.

        In this case, as noted, the Michigan State Tax Commission approved the IFT applications
for improvements made on six parcels of petitioner’s property. However, respondent then reduced
the values approved by the State Tax Commission by 20% for functional obsolescence. The
tribunal asked respondent’s tax assessor why Greenville made the additional 20% reduction after


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the IFT abatements were approved, and he replied that he did not know because he began working
as the Greenville tax assessor after the values were reduced, and he did not change those values
after he took over the position.

        Nonetheless, to challenge the tax assessments, it was petitioner’s burden to show the true
cash value of the listed parcels, and the tribunal ruled that petitioner failed to meet this burden.
See Great Lakes Div of Nat’l Steel Corp, 227 Mich App at 408-410. Petitioner submitted a
valuation report of an appraiser who also testified at the tribunal hearing, but the tribunal ruled that
this did not establish the true cash value of the six IFT parcels for several reasons.

        Petitioner’s appraiser gave one appraisal of the true cash value of the entire property. He
did not know how the property was divided for purposes of the IFT certificates, and he could not
identify which improvements were made to each parcel. The tribunal also ruled that there was no
evidence of what improvements were made on each IFT parcel or how they could be valued
individually on the basis of the true cash value of each. Further, ample record evidence supported
the tribunal’s conclusion that the appraiser’s valuation appeared to deliberately undervalue the
property as a whole and contained a significant number of errors.

        The appraiser misreported the total building area on the property, as well as the square foot
measurements of buildings. In his cost-less-depreciation analysis, the appraiser failed to cost out
air conditioning throughout all the buildings, he substantially miscalculated the average ceiling
heights in the buildings, and there did not appear to be any cost calculations for 7,500 square feet
of a constructed middle connector between two of petitioner’s buildings. Petitioner’s appraiser
also failed to include 680 square feet of garage and 6,650 square feet of open storage buildings in
his cost-less-depreciation appraisal, and he valued all the buildings as light-industrial properties
even though the buildings were used, in large part, for heavy manufacturing.

         The tribunal also concluded that, although the appraiser believed that the sales-comparison
approach was a more accurate way to find true market value, the properties that he chose were not
comparable to petitioner’s property, in their features, uses, or locations. Most of the comparable
sales were warehouse buildings, not used for heavy manufacturing, and most differed substantially
in size, ceiling height, features, and location. The appraiser also admitted that he did not visit the
comparable properties, and he did not know how properties located in other states were taxed or
valued.

        On the basis of these findings, the tribunal ruled that it would give the appraisal “no weight
and credibility due to the major flaws . . . .” As discussed, this Court will not second-guess the
Tax Tribunal’s decision about witness credibility and the weight it gives to the evidence because
those are issues within the tribunal’s sound discretion. President Inn Props, LLC, 219 Mich App
at 633. However, our review of the record shows that the tribunal’s conclusion was based on
substantial and material evidence. Moreover, viewing the evidence in a light most favorable to
petitioner, the tribunal could not overlook such significant flaws in the appraisal. For that reason,
although petitioner complains that it met its burden by merely presenting some evidence to show
that the true cash value of the property may have been lower than the IFT tax assessments, the
tribunal did not have sufficient competent and material evidence from petitioner to accept the
valuation or to make an independent determination of the true cash value of each of the six IFT
parcels.


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        Petitioner contends that the tribunal erroneously ruled that, because the six parcels had IFT
certificates, the value of those parcels had to be based on the amount that petitioner and its
predecessor spent to make the property improvements. This is a misinterpretation of the tribunal’s
ruling.

        Contrary to petitioner’s assertions, the Tax Tribunal did not rule that the true cash value of
the six IFT parcels had to equal the project costs as reported by petitioner or the prior owner in
their IFT applications. Rather, the tribunal observed that none of the six IFT parcels were assessed
according to the amounts requested in the IFT abatements. Further, the tribunal did not dismiss
petitioner’s appeal of the tax assessments for the six IFT parcels on the ground that petitioner could
not challenge the assessments, but because petitioner failed to meet its burden of proof to go
forward with evidence establishing the true cash values of the IFT parcels.

         Petitioner argues that the dismissal of its challenge to the six IFT assessments was akin to
an affirmation of respondent’s valuations and assessments. To the contrary, the tribunal ruled that
it could not give any weight to petitioner’s evidence of the true cash value of the properties, and it
further stated that neither party presented sufficient evidence to show which IFT certificates
applied to the buildings on the property. For that reason, the only parcel for which the tribunal
could make an independent evaluation of true cash value was for parcel 59-052-693-035-20
because it was an ad valorem parcel and not an IFT parcel. Again, when a party fails to come
forward with competent evidence to challenge the assessed values of the properties at issue, the
tribunal’s duty to make an independent evaluation of taxable value is not triggered. Great Lakes
Div of Nat’l Steel Corp, 227 Mich App at 408-410. The tribunal did not simply affirm respondent’s
assessment, but dismissed the parcels for which it could not determine value. Under the
circumstances of this case, the tribunal’s conclusion that it must dismiss the petition challenging
the assessments of the six IFT parcels was the only conclusion it could reach because any decision
that it could make as to the value of each parcel would have been merely speculative on the basis
of the evidence presented.

       Affirmed.

                                                              /s/ James Robert Redford
                                                              /s/ Michael F. Gadola
                                                              /s/ Michael J. Riordan




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